             Case 3:06-cr-05005-RBL     Document 58     Filed 12/13/06   Page 1 of 1



 1                                                        Judge Franklin D. Burgess
 2

 3

 4

 5

 6

 7

 8                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 9                                   AT TACOMA
10   UNITED STATES OF AMERICA,        )            NO. CR06-5005FDB
                                       )
11                    Plaintiff,       )           ORDER
                                       )           GRANTING UNOPPOSED
12              v.                     )           MOTION TO EXTEND TIME
                                       )           FOR FILING OF
13                                     )           GOVERNMENT’S OPPOSITION
     ANTONIA CAZARES, et al,          )            TO DEFENDANT CAZARES’
14                                     )           MOTION FOR SEVERANCE
                      Defendants.     )
15   _________________________________)
16         Upon the Government’s unopposed motion requesting an extension of the
17   Government's deadline for responding to Defendant Antonia Cazares' Motion to Sever
18   Case From Co-Defendant Reyes,
19         IT IS HEREBY ORDERED that the Government’s Motion is GRANTED and the
20   Government’s opposition will be due on January 5, 2007.
21

22

23
                                            A
           DATED this 13th day of December, 2006.



                                            FRANKLIN D. BURGESS
24                                          UNITED STATES DISTRICT JUDGE
     Presented by:
25   s/ Michael Dion
26
     MICHAEL DION
     Assistant United States Attorney
27

28


     [PROPOSED] ORDER GRANTING UNOPPOSED MOTION - 1                          UNITED STATES ATTORNEY
                                                                             1201 Pacific Avenue, Suite 700
     TO EXTEND TIME FOR FILING OPPOSITION                                     Tacoma, Washington 98402
     U.S. Cazares, et al., CR06-5005FDB                                             (253) 428-3800
